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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------------------X
MARTHA H. MEDRANO,
                                                                       NOTICE OF REMOVAL
                                        Plaintiff,
                    -against-
                                                                       DOCKET NO.: 18-cv-1894
AVELINO SERVICES, INC. and "JOHN DOE",

                                   Defendants.
-------------------------------------------------------------------X

TO THE CLERK OF THE ABOVE-ENTITLED COURT:

Defendant AVELINO SERVICES, INC hereby files this Notice of Removal of the above-
described action to the United States District Court for the Eastern District of New York from the
New York State Supreme Court, County of Queens, where the action is now pending as provided
by Title 28, U.S. Code, Chapter 89 and states:

1. AVELINO SERVICES, INC is the DEFENDANT in the above entitled action.

2. The above entitled action was commenced in the Supreme Court, County of Queens, State of
New York and is now pending in that court. A copy of the plaintiff's complaint setting forth the
claim for relief upon which the action is based was first received by the Defendant on March 9,
2018.

3. The action is a civil action for personal injuries as a result of an alleged motor vehicle accident
and the United States District Court for the Eastern District of New York has jurisdiction by
reason of the diversity of citizenship of the parties.

4. Plaintiff is now and at the time the state action was commenced a citizen of the State of New
York and Defendant Avelino Services, Inc. is now and at the time the state action was
commenced a citizen of the State of Florida. The matter in controversy allegedly exceeds,
exclusive of costs and disbursements, the sum or value of $150,000. No change of citizenship of
parties has occurred since the commencement of the action. Defendant is not a citizen of the state
in which the action was brought.

5. A copy of all process, pleadings, and orders served upon Defendant is filed with this notice.

6. Defendant will give written notice of the filing of this notice as required by 28 U.S.C.A. §
1446(d).

7. A copy of this notice will be filed with the clerk of the Supreme Court, County of Queens, as
required by 28 U.S.C. § 1446(d).
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Dated:   New York, New York
         March 28, 2018

                                    SHAFER GLAZER, LLP
                                    Attorneys for Avelino Services, Inc.

                                    s/ David   A. Glazer
                              By:                           ________
                                    DAVID A. GLAZER (DG4504)
                                    125 Maiden Lane, 16th Floor
                                    New York, New York 10038
                                    (212) 267-0011



TO:

HARMON, LINDER & ROGOWSKY, ESQS.
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(212) 732-3665
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                               CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing Notice of Removal and Rule 7.1 Statement
were mailed by first class mail, postage prepaid this March 28, 2018, to all counsel of record as
indicated on the service list below.

                                     s/ David A. Glazer
                                     _______________________________________
                                     DAVID A. GLAZER (DG4504)
                                     For the Firm


SERVICE LIST

Mr. Mark J. Linder
Harmon, Linder & Rogowsky, Esqs.
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